                 Case 22-14766-SMG               Doc 64       Filed 11/15/22        Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION
In re:

RALPH LEVI SANDERS, JR.                                                          CASE NO. 22-14766-SMG
                                                                                 CHAPTER 13
                  Debtor.
____________________________________/

                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

ANY INTERESTED PARTY WHO FAILS TO FILE AND SERVE A WRITTEN
RESPONSE TO THIS MOTION WITHIN FOURTEEN (14) DAYS AFTER THE DATE
OF SERVICE STATED IN THIS MOTION SHALL, PURSUANT TO LOCAL RULE 4001-
1(C), BE DEEMED TO HAVE CONSENTED TO THE ENTRY OF AN ORDER
GRANTING THE RELIEF REQUESTED IN THE MOTION 1

         Specialized Loan Servicing LLC, as servicing agent for The Bank of New York Mellon,

f/k/a The Bank of New York, successor in interest to JPMorgan Chase Bank, N.A. as Trustee for

Bear Stearns Asset Backed Securities Trust 2006-SD2, Asset-Backed Certificates, Series 2006-

SD2 (“Movant”) seeks, pursuant to 11 U.S.C. §362(d), for relief from the automatic stay and states:

         1.       On April 11, 2005, the Debtor executed a promissory note in favor of Wells Fargo

Bank, N.A. and a mortgage securing payment of the promissory note regarding the following

property:

         LOT 22, IN BLOCK 4, OF PLANTATION PARK 10TH ADDITION, ACCORDING
         TO THE PLAT THEREOF, AS RECORDED IN PLAT BOOK 55, AT PAGE 21, OF
         THE PUBLIC RECORDS OF BROWARD COUNTY, FLORIDA.

         AKA 561 SW 60 Ave., Plantation, FL 33317 (“Property”).

A true and correct copy of the Note, Mortgage and Assignment of Mortgage is attached as

Composite Exhibit “A.”

         2.       As of November 15, 2022, the total debt owed was $513,837.17.


1
 Pursuant to Local Rule 4001-1(C)(2)(a), this Motion is permitted to be filed on Negative Notice because, in the Third
Amended Plan (Doc. No. 60), the Debtor treats Movant directly outside of the Plan.
              Case 22-14766-SMG          Doc 64     Filed 11/15/22    Page 2 of 3




       3.      According to the Debtor’s Third Amended Plan (Doc. No. 60), the Debtor treats

Movant directly outside of the Plan.

       4.      According to the Debtor’s Schedule D, the value of the property is $570,000.00.

       5.      As of November 15, 2022, the total debt owed was $513,837.17.

       6.      Accordingly, there is no equity in the Property, and it is not necessary for an

effective reorganization.

       7.      If Movant is not permitted to enforce its lien on the Property, it will suffer

irreparable injury, loss, and damage.

       8.     The address for post-petition payments is Specialized Loan Servicing LLC, 6200 S.

Quebec St. Suite 300, Greenwood Village, CO 80111.

       WHEREFORE, Movant, respectfully requests the Court enter an order:

               a.      terminating the automatic stay;

               b.      permitting Movant to take any and all steps necessary to exercise any and

all rights it may have in the Property described herein; and

               c.      granting such other relief that the Court may deem just and proper.

                                                 /s/ Gavin N. Stewart
                                                 Gavin N. Stewart, Esquire
                                                 Florida Bar Number 52899
                                                 P.O. Box 5703
                                                 Clearwater, FL 33758
                                                 P: (727) 565-2653
                                                 F: (727) 213-9022
                                                 E: bk@stewartlegalgroup.com
                                                 Counsel for Movant
              Case 22-14766-SMG          Doc 64    Filed 11/15/22    Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served by CM/ECF notice

and first class mail this 15th day of November 2022.

                                                /s/ Gavin N. Stewart
                                                Gavin N. Stewart, Esquire
VIA REGULAR MAIL
Ralph Levi Sanders, Jr.
561 SW 60 Ave.
Plantation, FL 33317

VIA CM/ECF NOTICE
Michael J. Brooks, Esq.
8660 West Flagler Street
Miami, FL 33144

Robin R. Weiner
Robin R. Weiner, Chapter 13 Trustee
Post Office Box 559007
Fort Lauderdale, FL 33355

U.S. Trustee
Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130
